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                                                                            ASHEVILLE, NC

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            FOR TFIE WESTERN DISTzuCT OF NORTH CAROLINA
                          ASHEVILLE DIVISION

                            DOCKET NO. I :21-CR-00050

UNITED STATES OF AMERICA                     )
                                            )      CONSENT ORDERAND
v.                                          )    JUDGMENT OF FORFEITURE
                                            )
DATON TAHVIAN DAPRE ALLEN-                  )
LONG                                         )

       WHEREAS, the defendant, DATON TAHVIAN DAPRE ALLEN-LONG,
has entered into a plea agreement (incorporated by reference herein) with the United
States and has voluntarily pleaded guilty pursuant to Fed. R. Crim. P. I I to one or
more criminal offenses under which forfeiture may be ordered;

      WHEREAS, the defendant and the United States stipulate and agree that the
property described below constitutes property derived from or traceable to proceeds
of the defendant's offense(s) herein; properfy involved in the offenses, or any
property traceable to such property; and/or property used in any manner to facilitate
the commission of such offense(s); or substitute properfy as defined by 2l U.S.C. $
853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject to forfeiture pursuant
to 2l U.S.C. $ 853, l8 U.S.C. $ 924(d), and/or 28 U.S.C. S 2461(c), provided,
however, that such forfeiture is subject to any and all third parfy claims and interests,
pending final adjudication herein; the defendant waives his interest, if any, in the
properfy and agrees to the forfeiture of such interest;

       WHEREAS, the defendant herein waives the requirements of Fed. R. Crim.
P. 32.2 regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

       WHEREAS, pursuant to Fed. R. crim. p.32.2(b)(l) & (cX2), the courr finds
that there is the requisite nexus between the property and the oiljense(s) to
                                                                              which the
defendant has pleaded guilty;




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       WHEREAS, the defendant withdraws any claim previously submitted in
response to an administrative forfeiture or civil forfeiture proceeding concerning any
of the property described below. If the defendant has not previously submitted such
a claim, the defendant hereby waives all right to do so. If any administrative
forfeiture or civil forfeiture proceeding concerning any of the property described
below has previously been stayed, the defendant hereby consents to a lifting of the
stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to
enter this Order by the previous Order of this Court No. 3:05MC302-C (September
8,2005);

     NOW, TI{EREFORE, IT IS HEREBY ORDERED THAT the following
property is forfeited to the United States:

           .   Approximately $880.00 in United States currency; and
           o   l8 rounds of Hornady brand .40 caliber ammunition.
       The United States Marshal and/or other property custodian for          the
investigative agency is authorized to take possession and maintain custody of the
above-described tangible property.

      If and to the extent required by Fed. R. Crim. P. 32.2(b)(6),21 U.S.C. $
853(n), and/or other applicable law, the United States shall publish notice and
provide direct written notice of this forfeiture.

      As to any firearms and/or ammunition listed above and/or in the charging
instrument, defendant consents to disposal by federal, state, or local law enforcement
authorities upon such legal process as they, in their sole discretion, deem to be
legally sufficient, and waives any and all right to further notice of such process or
such destruction.

      Any person, other than the defendant, asserting any legal interest in          the
property may, within thirty days of the publication of notice or the receipt of notice,
whichever is earlier, petition the court for a hearing to adjudicate the validity of the
alleged interest.



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          Pursuant to Fed. R. Crim. P. 32.2(bX3), upon entry of this Order of Forfeiture,
    the United States Attomey's Office is authorized to conduct any discovery needed
    to identif, locate or dispose of the properry, including depositions, interrogatories,
    requests for production of documents and to issue subpoenas, pursuant to Fed. R.
    Civ. P.45.

           Following the Court's disposition of all timely petitions filed, a final order of
    forfeiture shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2).If no third
    parry files a timely petition, this order shall become the final order and judgment of
    forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United States shall
    have clear title to the property and shall dispose of the property according to law.
    Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), the defendant consents that this order
    shall be final as to defendant upon filing.

    SO AGREED:




{':
 \Assistant   Un ited States Attomey




     ATON TAHVIAN DAPRE ALLEN-LONG
   Defendant




   EMILYM.    JONES
   Attomey for Defendant                                                *
                                               Signed:   fiCOl.. /.2           021




                                               W. CARLETON           CALF
                                               United States Ma    rate Judge
                                               Western District o Nonh Carolina




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